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Jon L. Norinsberg, Esq.
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                                                               January 10, 2025
VIA ECF
Hon. John G. Koeltl
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street, Room 14A
New York, N.Y. 10007-1312

                Re: Saunders v. Royal Leaf NY LLC, d/b/a Statis Cannabis Co.
                    Case No. 1:24-cv-06175 (JGK)
                    Declaration of Service

Dear Judge Koeltl:

          We represent Plaintiff Michael Saunders in the above-referenced Americans with
Disabilities Act (“ADA”) matter. Pursuant to Your Honor’s Order, dated December 26, 2024, we
have served such Order upon Defendant, via USPS, LetterStream (Ex. A). To date, Defendant
has still not appeared or contacted Plaintiff and as such, we intend to file a motion for
Default promptly next week.                                     Respectfully submitted,

                                                        JOSEPH & NORINSBERG, LLC

                                                             /s/ Arjeta Albani,
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